                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

                                                    )
KYLEE M. METZGER,                                   )
                                                    )
                      Plaintiff,                    )
       v.                                           )       No. 5:18-cv-6060
                                                    )
BOARD OF REGENTS OF THE                             )
NORTHWEST MISSOURI STATE                            )
UNIVERSITY,                                         )
                                                    )
                      Defendant.                    )

                                     NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant Board of Regents of the Northwest

Missouri State University (the “University”) hereby gives notice of the removal of the case

styled Metzger v. Board of Regents of the Northwest Missouri State University, No. 18ND-

CC00030 (Circuit Court of Nodaway County, Missouri), to the United States District Court for

the Western District of Missouri, Western Division. The University states the following grounds

for removal:

       1.      On February 21, 2018, Kylee M. Metzger (“Plaintiff”) commenced this action in

the Circuit Court of Nodaway County, Missouri by filing her Petition.

       2.      Plaintiff served a copy of her Petition on the University on March 29, 2018.

       3.      There are no co-defendants whose consent is required for removal.

       4.      Plaintiff’s Petition consists of three counts: Count I alleges discrimination based

on disability; Count II alleges false imprisonment; and Count III alleges substantive and

procedural due process violations.




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       5.       In Count I, Plaintiff invokes the Americans with Disabilities Act (“ADA”) by

stating that the University “has contracted to comply with the ADA as a condition precedent for

receiving certain federal funds from the Government of the United States.” Pet. ¶ 8.

       6.       Further, Plaintiff alleges that she is entitled to a “free appropriate public

education.” The entire concept of a “free appropriate public education” is created by, and

grounded in, the federal Individuals with Disabilities Education Act (“IDEA”). See Endrew F.

ex rel. Joseph F. v. Douglas Cty. Sch. Dist. RE-1, 137 S. Ct. 988, 993 (2017).

       7.       Therefore, Plaintiff’s claim for disability discrimination arises under federal law

and contains substantial federal questions necessary for its resolution.

       8.       In Count III, Plaintiff asserts violations of her procedural and substantive due

process rights, thereby invoking the Fifth and Fourteenth Amendments of the United States

Constitution.

       9.       Pursuant to 28 U.S.C. § 1331, this Court has original jurisdiction over all civil

actions arising under the Constitution, laws, or treaties of the United States.

       10.      Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction over

Plaintiff’s remaining claims because they form part of the same case or controversy as her claims

invoking federal law.

       11.      Because of this Court’s original jurisdiction over Plaintiff’s first and third counts,

removal of this action is proper pursuant to 28 U.S.C. § 1441(a) and (c).

       12.      This Court may exercise supplemental jurisdiction over Plaintiff’s remaining

claims pursuant to 28 U.S.C. § 1367 and 28 U.S.C. § 1441(c).




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       13.     The filing of this Notice of Removal is timely under 28 U.S.C. § 1446(b) because

it is within thirty (30) days of receipt by the University, through service or otherwise, of a copy

of the initial pleading setting forth the claims for relief upon which this action is based.

       14.     Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

served upon the University in this action are attached hereto. Plaintiff has not served, and the

University has not received, any other process, pleadings or orders.

       15.     After the filing of this Notice of Removal, the University will file a copy of this

Notice with the Clerk of the Circuit Court of Nodaway County, Missouri, and will provide notice

to Plaintiff, all as provided by 28 U.S.C. § 1446(d).

       WHEREFORE, the University states that it has divested the state court of jurisdiction by

filing with that Court a Notice of Filing this Notice of Removal, and requests that this Court

proceed with adjudication of this matter.


Dated this 27th day of April, 2018.                     Respectfully submitted,

                                                        /s/ Derek T. Teeter

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                                                        of the Northwest Missouri State University




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 27, 2018, a true and correct copy of the foregoing was

served via United States mail, postage prepaid, upon:

       Brian J. Klopfenstein
       215 S. Platte Clay Way, Suite B
       Post Office Box 897
       Kearney, MO 64060-0897
       Telephone (816) 628-2800
       Facsimile (816) 628-2802

       Attorney for Plaintiff

and I also filed the foregoing document via the Court’s ECF system, which will cause a true and

correct copy of the same to be served electronically on all ECF-registered counsel of record.


                                                    /s/ Derek T. Teeter
                                                    Attorney for Defendant




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